 Case:18-05288-EAG11 Doc#:160 Filed:03/28/19 Entered:03/28/19 16:01:17      Desc: Main
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 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                              THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                    CASE NO. 18-05288-EAG11
 4    SKYTEC INC                               Chapter 11

 5

 6
     XX-XXXXXXX
 7
                     Debtor                       FILED & ENTERED ON MAR/28/2019
 8

 9                                             ORDER

10        The motion filed by Debtor for entry of order extending deadline to

11   confirm plan of reorganization pursuant to Sections 1121(e)(3) and 1129(e)

12   (docket #152), is hereby granted to the extent it seeks to extend the deadline

13   to confirm the plan until May 31, 2019.

14        IT IS SO ORDERED.

15        In Ponce, Puerto Rico, this 28 day of March, 2019.

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